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               A NARRATIVE APPRAISAL REPORT OF:
                 The Existing 259.568± Acres Of Underlying Land
            6,868± Seat, 137,500± Square Foot Event Center – Arena
                  12 On-Campus Residence Halls (Dormitories)
               9 On-Campus Student Housing Apartment Buildings
                    Associated With Grand Canyon University
                       Located At 3300 W Camelback Road
                             Phoenix, Arizona 85017

                           EFFECTIVE DATE OF VALUE
                          May 25, 2018 (Land And Arena)
                                       And
               July 23, 2018 (Residence Halls And Student Housing)



                                 DATE OF REPORT
                                  August 28, 2018




PREPARED FOR:
Grand Canyon University
Attn: Mr. William Gonzalez
Chairman Of The Board
3300 W Camelback Road, Building 26
Phoenix, Arizona 85017




PREPARED BY:
Hurd And Associates, Inc.
6928 E Orange Blossom Lane
Paradise Valley, Arizona 85253
Hurd File # C18-05-01




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                      HURD AND ASSOCIATES, INC.
                     Professional Real Estate Appraisers and Consultants
                               6828 East Orange Blossom Lane
                               Paradise Valley, Arizona 85253
                                        602-549-8870


August 28, 2018


Grand Canyon University
Attn: Mr. William Gonzalez
Chairman Of The Board
3300 W Camelback Road, Building 26
Phoenix, Arizona 85017

Re:    An Appraisal Report of the existing 259.568± acres of underlying land
       (“As If Vacant” and available for development); 6,868± seat, 137,500±
       square foot Event Center – Arena; 12 on-campus Residence Halls
       (Dormitories); and 9 on-campus Student Housing Apartment Buildings;
       all associated with Grand Canyon University, located at 3300 W
       Camelback Road, Phoenix, Arizona 85017

Dear Mr. Gonzalez:

At your request, a real estate appraisal report of the above identified property has been prepared.
The purpose of this appraisal is to develop an opinion of the “As Is” Fair Market Value of the Fee
Simple Interest of 1.) the existing 259.568± acres of Underlying Land “As If Vacant” and available
for development (Valuation Section 1); 2.) the 6,868± seat, 137,500± square foot Event
Center - Arena, exclusive of the underlying land (Valuation Section 2); 3.) 12 on-campus
Residence Halls (Dormitories) totaling 1,908 suites/7,418 beds, exclusive of the underlying land
(Valuation Section 3); and 4.) 9 on-campus Student Housing Apartment Buildings totaling
1,455 suites/5,042 beds, exclusive of the underlying land (Valuation Section 4). All
components are associated with Grand Canyon University. The appraised properties were
inspected on May 25, 2018 (land and event center) and July 23, 2018 (Residence Halls and
Student Housing Apartment Buildings), which represents the effective dates of the respective “As
Is” Market Values. This report is intended to be an Appraisal Report, prepared in conformance
with USPAP Standard 2-2(a). The intended use of this report is to assist the nonprofit
organization referred to as “Grand Canyon University.” in obtaining the above referenced real
estate from Grand Canyon Education, Inc. (GCE), with GCE retaining all administrative and service
related assets. The intended user is Grand Canyon University. Any distribution of this
appraisal is restricted to Grand Canyon University, Grand Canyon Education, Inc.,
and/or Gallagher & Kennedy, P.A., legal counsel for Grand Canyon University.

This report has been prepared in compliance with:          the Uniform Standards of Professional
Appraisal Practice (effective date January 1, 2018).

The subject property represents the underlying 259.568± acres of land owned by and associated
with the Grand Canyon University, including both the current educational related buildings, in
addition to parcels to be utilized for future expansion. Notably, not all parcels are contiguous,
with a number still being improved with non-university related improvements. Zoning ranges
from PUD, which was initiated by the university, to commercial and multifamily. The valuation
of the underlying land for the overall site was broken down into economic components based on
size (contiguous areas), zoning and location. Each of these land parcels has been valued to their
Highest And Best Use (H&BU), and discounted to reflect a single purchase buyer.

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Extraordinary Assumptions
    The respective individual Market Values of the underlying land parcels assumed that
     they are vacant and available to be developed to their current H&BU, and that the
     subject University does not exist.
    Current surveys of the individual subject land parcels were not provided, therefore the
     appraisers utilized public records to estimate the subject parcel sizes and frontages.
     We assume this data is correct.
    Building plans for the Event Center - Arena by Future Cities, LLC of Tempe, Arizona,
     were provided by the ownership and assumed to be accurate.
    Original and expansion construction costs for the Event Center - Arena were provided
     by the ownership and assumed to be accurate.
    The valuation of the Event Center - Arena represents both the building and site
     improvements, exclusive of the underlying land.
    Partial building plans for the 12 on-campus Residence Halls (Dormitories) and 9 on-
     campus Student Housing Apartment Buildings were provided by the ownership and
     assumed to be accurate. These included floor plans for the common building types.
     The appraisers made every effort to accurately delineate the gross building area of
     each building from the plans provided, utilizing the common plans and discussions with
     representatives of the ownership as to which plans pertained to each building. This
     information is assumed to be accurate. Notably, no information was available for the
     apartment complex known as North Rim.
    Original construction costs for the 12 on-campus Residence Halls (Dormitories) and 8
     of the 9 (excludes North Rim) on-campus Student Housing Apartment Buildings were
     provided by the ownership and assumed to be accurate. The renovation costs for the
     North Rim Student Housing Apartment Building was provided by the ownership and
     assumed to be accurate.
    The suite and bed counts for each of the 12 on-campus Residence Halls (Dormitories)
     and 9 on-campus Student Housing Apartment Buildings were provided by the owner
     and assumed to be correct in the absence of individual plans for each building.
    The “Dorm Profitability Analysis” which provides the forecasted 2018/2019 annualized
     revenue per building is believed to be based on current rates, and supported by either
     leases, and/or prior year(s) revenues. This information was provided by the ownership
     and assumed to be accurate.
    The valuation of the 12 on-campus Residence Halls (Dormitories) and 9 on-campus
     Student Housing Apartment Buildings represents both the building and site
     improvements, exclusive of the underlying land.
    It is an extraordinary assumption that all on-site housing buildings, including both the
     Apartments and Residence Halls, could be legally sub-divided from the main site, openly
     marketed, and sold to a qualified party. This also assumes that Grand Canyon
     University will continue to utilize these buildings as their primary student housing.




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    It is an extraordinary assumption that all amenities associated with any of the on-
     campus Residence Halls and/or Apartments may be utilized by any resident of the on-
     campus housing and the financial burden to operate the respective amenities be
     equitability distributed between all 21 student housing projects.
    The subject property will be a non-profit educational entity, and thus will be exempt
     from real estate taxes. Therefore, this appraisal assumes that all 259.568± acres of
     underlying land, as well as all vertical improvements will be exempt from real estate
     taxes.

The use of these Extraordinary Assumptions might have affected the assignment results.

Hypothetical Condition
     The subject student housing buildings, apartments and residence halls, are all located on
      a single legal parcel, part of the main campus of Grand Canyon University. It is a
      Hypothetical Condition of this report that each of the subject buildings is on a legally
      subdivided parcel of land at the estimated land sizes herein and is available for sale or
      ground lease at the Market Value estimated herein.

     It is a Hypothetical Condition of this report that both the Cactus and Jerome Apartment
      were 100% complete.

The use of these Hypothetical Conditions might have affected the assignment results.

Based on the exposure periods of the comparable sales employed in this analysis, and discussions
with brokers and market participants active in both the vacant land and student housing markets,
an exposure time of one year, or less, has been estimated for the subject properties if adequately
marketed at a prices consistent with the various Market Value opinion. Additionally, a marketing
time of one year, or less, is projected for the subject property properties on anticipated market
conditions over the next one-year period. Notably, this marketing and exposure period is for the
underlying land parcels as described as well as the 12 on-campus Residence Halls (Dormitories)
and 9 on-campus Student Housing Apartment Buildings.

No market and exposure time has been estimated for the Event Center – Arena as it is part of a
larger university campus and represent an amenity which is not typically sold.

Sincerely,




Barott G. Hurd                                      Stephen L. Mastorakos
President                                           State of Arizona Certified
Hurd And Associates, Inc.                           General Real Estate Appraiser #30446
State of Arizona Certified
General Real Estate Appraiser #30577




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                              EXECUTIVE SUMMARY

Property Type:                 The 259.568± acres of underlying Grand Canyon University
                               owned land; 6,868±seat, 137,500± square foot Event Center –
                               Arena; 12 on-campus Residence Halls (Dormitories) totaling
                               1,908 suites/7,418 beds; and 9 on-campus Student Housing
                               Apartment Buildings totaling 1,455 suites/5,042 beds; all of
                               which are located on the Grand Canyon University campus.

Property Address:              3300 W Camelback Road, Phoenix, Arizona 85017

Owner Of Record:               Grand Canyon University

Property Rights Appraised:     Fee Simple

Date Of Inspection:            May 25, 2018 and July 23, 2018

Date of Market Value:          May 25, 2018 and July 23, 2018

Date Of Report:                August 28, 2018

Purpose And Intended Use: The purpose of this appraisal is to develop an opinion of the “As
                          Is” Fair Market Value of the Fee Simple Interest of 1.) the
                          existing 259.568± acres of Underlying Land “As If Vacant” and
                          available for development (Valuation Section 1); 2.) the
                          6,868± seat, 137,500± square foot Event Center - Arena,
                          exclusive of the underlying land (Valuation Section 2); 3.) 12
                          on-campus Residence Halls (Dormitories) totaling 1,908
                          suites/7,418 beds, exclusive of the underlying land (Valuation
                          Section 3); and 4.) 9 on-campus Student Housing Apartment
                          Buildings totaling 1,455 suites/5,042 beds, exclusive of the
                          underlying land (Valuation Section 4). All components are
                          associated with Grand Canyon University. The appraised
                          properties were inspected on May 25, 2018 (Land and Event
                          Center) and July 23, 2018 (Residence Halls and Student
                          Housing Apartment Buildings), which represents the effective
                          dates of the respective “As Is” Market Values. This report is
                          intended to be an Appraisal Report, prepared in conformance
                          with USPAP Standard 2-2(a). The intended use of this report
                          is to assist the nonprofit organization referred to as “Grand
                          Canyon University.” in obtaining the above referenced real
                          estate from Grand Canyon Education, Inc. (GCE), with GCE
                          retaining all administrative and service related assets. The
                          intended user is Grand Canyon University.                    Any
                               distribution of this appraisal is restricted to Grand
                               Canyon University, Grand Canyon Education, Inc.,
                               and/or Gallagher & Kennedy, P.A., legal counsel for
                               Grand Canyon University.




 Hurd And Associates, Inc.                                                              1
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